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 8                                    UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
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11   GERALD L. TUCKER,                                         1:03-cv-5594-AWI-BAK (HC)
12                     Petitioner,
                                                               ORDER DENYING MOTION FOR
13            vs.                                              APPOINTMENT OF COUNSEL
14   SILVIA GARCIA,
                                                               (DOCUMENT #47)
15                     Respondent.
16   ____________________________________/
17             Petitioner has requested the appointment of counsel to represent him in his motion for
18   reconsideration. (Doc. 47). There currently exists no absolute right to appointment of counsel in
19   habeas proceedings. See e.g., Anderson v. Heinze, 258 F.2d 479, 481 (9th Cir.), cert. denied, 358
20   U.S. 889 (1958); Mitchell v. Wyrick, 727 F.2d 773 (8th Cir.), cert. denied, 469 U.S. 823 (1984).
21   However, Title 18 U.S.C. § 3006A authorizes the appointment of counsel at any stage of the case
22   "if the interests of justice so require." See Rule 8(c), Rules Governing Section 2254 Cases. In the
23   present case, the Court does not find that the interests of justice require the appointment of counsel
24   at the present time. Accordingly, IT IS HEREBY ORDERED that Petitioner's request for
25   appointment of counsel (Doc. 47) is DENIED.
26   IT IS SO ORDERED.
27   Dated:         August 10, 2009                     /s/ Sandra M. Snyder
     icido3                                      UNITED STATES MAGISTRATE JUDGE
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